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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                                  Case No. 6:22-CV-00212-CEM-EJK

PEDRO MILLAN,

      Plaintiff,
v.

TRANS UNION LLC,

     Defendant.
_______________________________________/

      NOTICE OF SETTLEMENT AS TO ONLY TRANS UNION LLC

      Plaintiff Pedro Millan submits this Notice of Settlement and states the parties

have reached a settlement with regard to this case and are presently drafting,

finalizing, and executing the formal settlement documents. Upon full execution of

the same, the parties will file the appropriate dismissal documents with the Court.

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                                                                                                              PAGE | 1 of 2
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      Dated: July 6, 2022
                                                            Respectfully Submitted,

                                                             /s/ Thomas Patti                                          .
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                                                            Phone: 954-907-1136
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                                                            COUNSEL FOR PLAINTIFF

                                  CERTIFICATE OF SERVICE

      The undersigned certifies that on July 6, 2022, the forgoing was electronically

via the Court’s CM/ECF system on all counsel of record.

                                                             /s/ Thomas Patti                                              .
                                                            THOMAS J. PATTI, ESQ.
                                                            Florida Bar No.: 118277




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